                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN RUFFINO and MARTHA )
RUFFINO, Husband and Wife,            )
                                      )
      Plaintiffs,                     )
                                      )     CASE No. 3:17-cv-00725
v.                                    )     Chief Judge Waverly D. Crenshaw
                                      )     Magistrate Judge Alistair Newbern
Dr. CLARK ARCHER and HCA              )
HEALTH SERVICES OF TENNESSEE, )             JURY DEMAND
INC. d/b/a STONECREST MEDICAL         )
CENTER                                )
                                      )
      Defendants.                     )
______________________________________________________________________________

 DEFENDANT DR. CLARK ARCHER'S MEMORANDUM IN SUPPORT OF MOTION
                                 TO DISMISS
______________________________________________________________________________

       COMES NOW Defendant DR. CLARK ARCHER ("Dr. Archer"), by and through

counsel, files this Memorandum of Law in Support of Motion to Dismiss asserting that due to

insufficient service of process, personal jurisdiction was not established over Dr. Archer. In

addition, Plaintiffs issued insufficient summons to Dr. Archer. Alternatively, should the Court

find exercise of personal jurisdiction over Dr. Archer appropriate, by failing to comply with

Tennessee's pre-suit notice requirements for health care liability actions and the applicable

statute of limitations, Plaintiffs failed to state a cause of action for which relief may be granted,

and their claims are to be dismissed with prejudice.

                               I. STATEMENT OF THE CASE

       On or around February 17, 2016, the Plaintiff, John Ruffino ("Mr. Ruffino"), alleges he

was presented at the emergency room of StoneCrest Medical Center and treated by Dr. Archer.

(See Compl., ¶ 8, 11).      Mr. Ruffino, along with his wife (jointly, "Paintiffs"), filed their




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Complaint on April 20, 2017. (See id., ¶ 1). In the Complaint, Plaintiffs allege that Dr. Archer

did not comply with the appropriate standard of care in rendering medical care. (See id., ¶ 93-

96). On May 1, 2017, Plaintiffs mailed by certified mail a copy of the filed Complaint to Dr.

Clark Archer at TriStar StoneCrest Medical Center at 200 StoneCrest Boulevard Smyrna,

Tennessee 37167. (See Exhibit A). When delivered, some unknown individual signed the

receipt. Dr. Archer has not authorized anyone at the aforementioned medical facility to receive

service for him. At some later point in time, Dr. Archer discovered the envelope in the mailbox

assigned to him at the aforementioned medical facility.

                   II. ARGUMENT AND CITATION OF AUTHORITY:

       A.      Plaintiffs have failed to effect service of process on Dr. Archer, and
               pursuant to Rule 12(b)(2) and 12(b)(5), the Court lacks personal
               jurisdiction over Dr. Archer.

       Pursuant to Rule 12(b) of the Federal Rules of Civil Procedure, a defendant may raise the

defenses of insufficient service of process and lack of personal jurisdiction upon motion.

Without proper service of process, a court cannot exercise personal jurisdiction over a named

defendant. King v. Taylor, 694 F.3d 650, 655 (6th Cir. 2012) (citing Murphy Bros., Inc. v.

Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999)). Absent personal jurisdiction, a federal

court is "powerless to proceed to an adjudication." Id. (quoting Ruhrgas AG v. Marathon Oil

Co., 526 U.S. 574, 584 (1999)). "When the validity of the service of process is contested, the

plaintiff bears the burden of proving that proper service was effected." Bateman v. United

States, No. 3:10-00765, 2011 WL 1328897, at *3 (M.D. Tenn. Apr. 5, 2011) (citations omitted);

see also Sawyer v. Lexington-Fayette Urban Cty. Gov't, 18 F. App'x 285, 287 (6th Cir. 2001)

(citing Byrd v. Stone, 94 F.3d 217, 219 (6th Cir. 1996)). Further, Rule 4(l) of the Federal Rules

of Civil Procedure provides that "[u]nless service is waived, proof of service must be made to the



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court." Additionally, when evaluating a Rule 12(b)(5) motion, a court may refer to evidence

outside of the pleadings. Pendleton v. Williams, No. 3:12-CV-00376, 2013 WL 2546684, at *1

(M.D. Tenn. June 10, 2013).

        Rule 4(e) of the Federal Rules of Civil Procedure governs service of process on

individuals and provides two (2) general methods. One method centers on complying with the

appropriate state procedure in the state where the federal court is either located or where the

service is attempted. Fed. R. Civ. P. 4(e). The other method permits: (1) personal service, (2)

leaving a copy at the individual's abode with an eligible person who also resides there, or (3)

serving an agent authorized appointed or by law. Id.

        In the present case, Plaintiffs did not attempt to personally deliver the Summons and

Complaint to Dr. Archer, nor did they leave copies at Dr. Archer dwelling or usual place of

abode with a suitable individual.     (See Exhibit A).     Plaintiffs did not personally serve an

appointed agent, nor did they serve someone appointed by law for Dr. Archer. (See id.) Instead,

Plaintiffs attempted service through certified mail. As such, determining whether appropriate

service of process occurred is restricted to whether Plaintiffs, through Rule 4(e)(1) of the Federal

Rules of Civil Procedure, complied with Tennessee law concerning service of process in a health

care liability action.

        Rule 4.04 of the Tennessee Rules of Civil procedure generally follows its federal

counterpart; however, one major deviation is that Tennessee permits service by certified mail.

Bateman, 2011 WL 1328897, at *3. Although service of process by certified mail is permitted,

"such mail must be received and signed for by the individual named defendant or by an agent

authorized to accept service." Bateman, 2011 WL 1328897, at *3 (citing Tenn. R. Civ. P. 4.04;

Hall v. Haynes, No. W200702611COAR9CV, 2009 WL 782761, at *3 (Tenn. Ct. App. Mar. 26,



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2009), aff'd, 319 S.W.3d 564 (Tenn. 2010)). More specifically, when serving an individual by

certified mail addressed to the individual at the individual's place of employment whereby

another person accepts service on behalf of the individual, Rule 4.04(1) of the Tennessee Rules

of Civil Procedure requires that the person accepting service have authority, express or implied,

to accept service on the individual's behalf. Hall v. Haynes, 319 S.W.3d 564, 572-73 (Tenn.

2010). Pursuant to both federal and Tennessee Rules of Civil Procedure, a defendant's actual

notice of a lawsuit against him or her is never sufficient to establish proper service of process.

Hall, 319 S.W.3d at 572 (citing Frye v. Blue Ridge Neuroscience Ctr., P.C., 70 S.W.3d 710, 715

(Tenn. 2002); LSJ Inv. Co. v. O.L.D., Inc., 167 F.3d 320, 322 (6th Cir. 1999)); see also King,

694 F.3d at 655.

       In the present case, as previously mentioned, Dr. Archer did not receive personal service

of process. (See Exhibit A). Instead, the attempted service of process occurred by mailing a

copy of the Summons and Complaint addressed to Dr. Archer by certified mail to TriStar

StoneCrest Medical Center in Smyna, Tennessee. Dr. Archer never signed the receipt for the

certified mail, which means someone else must have signed it. Yet, Dr. Archer has never

authorized someone at the aforementioned medical facility to receive service of process on his

behalf. See Hall, 319 S.W.3d at 572-73 (detailing express authority). Similarly, no one at the

aforementioned medical facility has implied authority to accept service of process on Dr.

Archer's behalf. See id. (detailing implied authority). Regardless of whether someone at the

aforementioned hospital may be authorized to receive mail on Dr. Archer's behalf, "acting as an

agent for some other purpose does not automatically make" the mail receiver an agent for

accepting service of process. Hall, 319 S.W.3d at 573 (citations omitted). Accordingly, other

than Dr. Archer, no one at the aforementioned medical facility was authorized to receive service



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of process on Dr. Archer's behalf. Accordingly, Plaintiffs failed to serve process upon Dr.

Archer, which renders the Court without personal jurisdiction over him. Further, the claims

against Dr. Archer must be dismissed.

         B.     Plaintiffs failed to direct the summons to the Dr. Archer, which resulted in
                prejudice to Dr. Archer, and due to insufficient process, claims against Dr.
                Archer should be dismissed pursuant to Rule 12(b)(4) of the Civil Rule of
                Procedure.

         A Rule 12(b)(4) motion is the proper method to challenge the form of the summons.1

More specifically, the motion challenges "provisions of Rule 4(b) or any applicable provision

incorporated by Rule 4(b) that deals specifically with the content of the summons." Phillips,

2006 WL 897985, at *1 (quoting 5B Charles Alan Wright & Arthur R. Miller, Federal Practice

and Procedure § 1353 (3d ed. 2004)). By requiring proper completion of the summons form

prior to receiving the clerk's signature, Rule 4(b) of the Federal Rules of Civil Procedure

incorporates the content requirements of subsection (a) of the rule. See Whitaker v. Stamping,

302 F.R.D. 138, 146 (E.D. Mich. 2014) (citing Fed. R. Civ. P. 4(a)(1)).

         In the present case, the summons is not "directed to the defendant." Fed. R. Civ. P. 4(a).

Although the Summons states Dr. Archer's name, the address is not the appropriate place for

service. Consequently, the Summons fails to comply with the content requirements of Rule 4 of

the Federal Rules of Civil Procedure and is insufficient. As such, along with the failure to serve

Dr. Archer, he is prejudiced because the court does not have personal jurisdiction over him.




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 Buck Mountain Cmty. Org. v. Tennessee Valley Auth., 629 F. Supp. 2d 785, 792 n. 5 (M.D. Tenn. 2009) (citing
Phillips v. Tennessee Hotel Supply, No. 1:04-CV-353, 2006 WL 897985, at *1 (E.D. Tenn. Apr. 4, 2006); see also
Whitaker v. Stamping, 302 F.R.D. 138, 146 (E.D. Mich. 2014) (quoting 5B Arthur R. Miller & Mary Kay Kane,
Federal Practice and Procedure § 1353 (3d ed. 2014)).

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       C.         Non-compliance with Tennessee's pre-suit notice requirements
                  establishes Plaintiffs failed to state a claim upon which relief may be
                  granted and requires Plaintiffs' claims be dismissed with prejudice
                  pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

       Alternatively, should the Court find that proper service of process on Dr. Archer occurred

and the exercise of personal jurisdiction over him is appropriate, the Plaintiffs' failures to comply

with Tennessee's health care liability pre-suit notice requirements and the corresponding statute

of limitations bars the Plaintiffs claims. Accordingly, without a viable claim, Plaintiffs have

failed to plead a cause of action upon which relief may be granted, and pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure, the Court should dismiss there claims against Dr. Archer

with prejudice.

       When exercising jurisdiction pursuant to diversity, a federal court must apply the

substantive law, including choice of law rules, of the state in which it sits. Andersons, Inc. v.

Consol, Inc., 348 F.3d 496, 501 (6th Cir. 2003) (citing Klaxon Co. v. Stentor Elec. Mfg. Co., 313

U.S. 487, 496 (1941)); see also Standard Fire Ins. Co. v. Ford Motor Co., 723 F.3d 690, 692

(6th Cir. 2013). Regarding torts, "Tennessee follows the most significant relationship rule,

which provides that the law of the state where the injury occurred will be applied unless some

other state has a more significant relationship to the litigation." Miller v. Uchendu, No. 2:13-

CV-02149-JPM, 2013 WL 4097340, at *2 (W.D. Tenn. Aug. 13, 2013) (citations omitted)

(internal quotation marks omitted); see also Menuskin v. Williams, 145 F.3d 755, 761 (6th Cir.

1998) (applying Tennessee law to transactions wholly connected with Tennessee). In the present

case, because the Court is exercising jurisdiction pursuant to diversity, the alleged injuries took

place in Tennessee, and no other state has a more significant relationship to the litigation,

Tennessee law supplies the substantive law in the present case.




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         Likewise, as the forum state, Tennessee's statutes of limitations, though procedural in

nature, apply to the Plaintiffs' claims. Mackey v. Judy's Foods, Inc., 867 F.2d 325, 328 (6th Cir.

1989) (citing Whitfield v. City of Knoxville, 756 F.2d 455, 461 (6th Cir. 1985)); see also Jackson

v. Regions Bank, No. 3:09-CV-00908, 2013 WL 2359564, at *5 (M.D. Tenn. May 29, 2013).

Tennessee statutes or rules that are an "integral part of a state statute of limitations" must also be

given full weight by a federal court.2 More specifically, Tennessee's Health Care Liability Act

supplies the substantive law, statute of limitations, any statutes that modify the statute of

limitations for the claims. Stinnett, 891 F. Supp. 2d at 867; ee Miller, 2013 WL 4097340, at *2

(requiring compliance with the Tennessee pre-suit notice requirements); see also Tenn. Code

Ann. § 29-26-101 (defining "health care liability action" to be all civil actions alleging a health

care provider caused an injury by providing or failing to provide health care services to a person

regardless of the theory of liability); Tenn. Code Ann. § 29-26-116 (providing the statute of

limitations for a Tennessee health care liability action); Tenn. Code Ann. § 29-26-121

(permitting an extension of the statute of limitations for compliance with the pre-suit notice

requirements).

         Tennessee's statute of limitations for a health care liability action is one (1) year from

either the date of the alleged injury or, if the alleged injury is not discoverable within that one (1)

year time period, the date of discovery. Tenn. Code Ann. § 29-26-116. Here, the injury was

discovered within one (1) year from the alleged injury; thus, the date of the alleged injury

controls when the statute of limitations began to run. Plaintiffs allege the injury occurred on

February 17, 2016. Therefore, this date will dictate when the statute of limitations began to run.

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       See Blaha v. A.H. Robins & Co., 708 F.2d 238, 240 (6th Cir. 1983) (upholding dismissal of state claim
pursuant to state law regarding service deadline); see also Walker v. Armco Steel Corp., 446 U.S. 740, 751-52
(1980). This is not to be confused with the debate surrounding enforcement of the filing of the certificate of good
faith. See Stinnett v. United States, 891 F. Supp. 2d 858, 866 n.9 (M.D. Tenn. 2012) (recognizing the split in
authority regarding whether filing a certificate of good faith is substantive or procedural).

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       In return for a plaintiff complying with the pre-suit notice requirements of the Tennessee

Health Care Liability Act, the statute of limitations will be extended by one hundred twenty

(120) days. Tenn. Code Ann. § 29-26-121. To receive this extension of time, sixty (60) days

prior to filing of such an action, the prospective plaintiff must provide written notice of intent to

file the claim to each health care provider that will be named as a defendant. Id. Further, when

mailing the notice of intent to an individual health care provider such as Dr. Archer, a plaintiff

must send the written notice to "both the address listed for the provider on the Tennessee

department of health web site and the provider's current business address, if different from the

address maintained by the Tennessee department of health." Id. Compliance is established by

attaching a "certificate of mailing from the United States postal service stamped with the date of

mailing and an affidavit of the party mailing the notice establishing that the specified notice was

timely mailed by certified mail, return receipt requested." Id.

       In the present case, however, the Plaintiffs failed to comply with the notice of intent

requirements. Consequently, the statute of limitations was not extended, and at the time of

filing, which occurred after the one (1) year expiration of the statute of limitations, Plaintiffs'

claims were barred. The specific failure is that Plaintiffs did not mail a notice of intent to Dr.

Archer at his address as it is listed on the Tennessee Department of Health's website, as

evidenced by certificate of mailing attached as Exhibit 1B to the Complaint. The attached

certificate of mailing only demonstrates that the Summons and Complaint were mailed to Dr.

Archer at a Murfreesboro, Tennessee address and the address of the facility where alleded

medical care took place in Smyrna, Tennessee. The certificate of mailing is devoid of any

attempt to mail the Summons and Complaint to Dr. Archer at his Brentwood, Tennessee address

as it is listed on the Tennessee Department of Health's website. A compliant certificate of



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mailing is a prerequisite to the extension of the statute of limitations. Absent this requirement,

the Plaintiffs are not entitled to an extension of the statute of limitations. Accordingly, because

the Complaint was filed on April 20, 2017, and the statute of limitations expired on February 17,

2017, the claims were filed after the deadline and barred at the time of filing. Therefore,

Plaintiffs have failed to state a cause of action upon which relief can be granted, and the claims

against Dr. Archer are to be dismissed with prejudice.3

                                           III. CONCLUSION

         In conclusion, Plaintiffs' failure to serve process on Dr. Archer renders the Court without

personal jurisdiction over Dr. Archer. Similarly, the process issued by Plaintiffs was not directed

at Dr. Archer; thus it was insufficient and requires dismissal of the claims against Dr. Archer.

Alternatively, absent a mailing certificate demonstrating compliance with Tennessee's pre-suit

notice requirements for a health care liability action, Plaintiffs were not entitled to the extension

of the statute of limitations. Therefore, when Plaintiffs filed their Complaint after the statute of

limitations had expired, they failed to state a cause of action upon which relief may be granted,

which requires dismissal with prejudice.

         Respectfully submitted on this 22nd day of May, 2017.

                                                    HALL BOOTH SMITH, P.C.

                                           By:      /S/ James Looper______________
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                                                    424 Church St., Ste. 2950
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                                                    (615) 313-9911
                                                    Attorney for Defendant Dr. Clark Archer

3
 Failure to comply with Tennessee Code Annotated section 29-26-121(a)(1) results in dismissal without prejudice.
Malott v. Marriott Hotel Servs., Inc., 200 F. Supp. 3d 713, 717 n.6 (M.D. Tenn. 2016) (citing Ellithorpe v.
Weismark, 479 S.W.3d 818, 828 (Tenn. 2015)). In the present case, however, dismissal with prejudice is
appropriate because the claim was filed after the statute of limitations and is barred. Therefore, the defense is
premised upon the expiration of the statute of limitation and not upon the contents of the notice of intent.

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                                CERTIFICATE OF SERVICE

              I hereby certify that: I have this 22nd day of May, 2017, served all parties in this
matter with the foregoing DEFENDANT DR. CLARK ARCHER'S MEMORANDUM IN
SUPPORT OF MOTION TO DISMISS by CM/ECF, to counsel of record as follows:

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                                                    HALL BOOTH SMITH


                                             By:    /S/ James Looper________




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